    Case 1:18-md-02865-LAK           Document 166-5         Filed 07/29/19     Page 1 of 16




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 In re

 CUSTOMS AND TAX ADMINISTRATION
 OF THE KINGDOM OF DENMARK
 (SKAT) TAX REFUND LITIGATION                       18-MD-2865 (LAK)

                                                    ECF Case

 This document relates to:                          ANSWER OF
 Case No. 18-cv-10065(LAK)                          THE OAKS GROUP PENSION PLAN

                                                    JURY TRIAL DEMANDED



         Defendant The Oaks Group Pension Plan (“Defendant” or “Oaks Plan”), by and through

its attorneys, CAPLIN & DRYSDALE, CHARTERED, as and for its Answer to the Complaint

dated May 18, 2018 (the “Complaint”) states as follows:

                                    AS TO THE PARTIES

         1.    Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 1, except to admit that SKAT is a taxing

authority of Denmark.

         2.    Defendant admits the allegations contained in Paragraph 2.

         3.    Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 3, except to admit that Defendant Matthew

Tucci (“Tucci”) communicated on its behalf regarding the tax refund claims.




                                                1
    Case 1:18-md-02865-LAK            Document 166-5        Filed 07/29/19        Page 2 of 16




                          AS TO THE NATURE OF THE ACTION

       4.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 4, except to admit that SKAT is a taxing

authority of Denmark.

       5.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 5, except Defendant denies participating in

a fraudulent tax refund scheme to deceive SKAT.

       6.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 6, except Defendant denies participating in

a fraudulent scheme.

       7.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 7, except Defendant admits submitting

refund claims for tax withheld on dividends earned on the shares of Danish companies, and

Defendant denies submitting fraudulent tax refund claims or otherwise participating in a

fraudulent scheme.

       8.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 8, except Defendant admits submitting

withholding tax refund claims and receiving tax refunds, and Defendant denies submitting

fraudulent tax refund claims or otherwise participating in a fraudulent scheme.

       9.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 9, except Defendant admits submitting

withholding tax refund claims and receiving tax refunds, and Defendant denies submitting

fraudulent tax refund claims or otherwise participating in a fraudulent scheme.




                                                 2
     Case 1:18-md-02865-LAK             Document 166-5       Filed 07/29/19       Page 3 of 16




       10.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 10, except Defendant admits receiving

refunds of tax, and Defendant denies submitting fraudulent tax refund claims or otherwise

participating in a fraudulent scheme.

       11.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 11, except Defendant denies submitting

fraudulent tax refund claims or otherwise participating in a fraudulent scheme.

       12.     Defendant denies the allegations contained in Paragraph 12, except Defendant

does not have knowledge sufficient to admit or deny allegations with respect to all claimants.

               a.      Defendant denies having knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 12.a., except to admit that

Defendant Tucci communicated in writing with the Payment Agent on behalf of Defendant Oaks

Plan regarding the tax refund claims.

               b.      Defendant denies having knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 12.b., except Defendant denies

submitting fraudulent tax refund claims or otherwise participating in a fraudulent scheme.

               c.      Defendant denies having knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 12.c., except Defendant, upon

information and belief, denies the allegations that it did not own shares in Danish companies and

had not earned dividends on those shares.

       13.     Defendant denies the allegations contained in Paragraph 13.

       14.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 14, except to admit that SKAT made




                                                  3
    Case 1:18-md-02865-LAK            Document 166-5         Filed 07/29/19     Page 4 of 16




payments to its Payment Agent, who subsequently disbursed the payments, and except that

Defendant denies participating in a fraudulent scheme.

          15.   Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 15, except Defendant denies participating in

a fraudulent scheme.

          16.   Defendant denies the allegations contained in Paragraph 16, except Defendant

admits that it was paid withholding tax refunds.

                         AS TO THE JURISDICTION AND VENUE

          17.   Paragraph 17 alleges legal conclusions to which no answer is required. To the

extent that an answer is required to Paragraph 17, Defendant admits that the matter in

controversy exceeds the sum or value of $75,000, that SKAT is an agency or instrumentality of a

foreign state, and that Defendants are citizens of a state, and Defendant denies allegations in

Paragraph 17 to the extent they suggest that the Court has subject matter jurisdiction over the

matter.

          18.   Paragraph 18 alleges legal conclusions to which no answer is required.

                             AS TO THE FACTUAL ALLEGATIONS

          19.   Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 19, except to admit that SKAT is the

relevant taxing authority.

          20.   Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 20, except to admit that a certain percentage

of dividends is withheld by Danish companies as withholding tax on dividends.




                                                   4
    Case 1:18-md-02865-LAK            Document 166-5        Filed 07/29/19        Page 5 of 16




       21.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 21, except to admit that under certain

circumstances foreign shareholders may be entitled to a refund of the withholding tax.

       22.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 22, except to admit that under certain

circumstances, U.S. pension plan shareholders may be entitled to a refund of tax withheld on

dividends paid by Danish companies.

       23.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 23, except Defendant admits submitting

withholding tax refund claims and that SKAT paid refunds of the withholding tax, and

Defendant denies submitting fraudulent tax refund claims or otherwise participating in a

fraudulent scheme.

       24.     Defendant denies having sufficient knowledge or information to admit or deny

allegations contained in Paragraph 24.

       25.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 25, except Defendant admits submitting

withholding tax refund claims, and Defendant denies submitting fraudulent tax refund claims or

otherwise participating in a fraudulent scheme.

       26.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 26, except to admit that it submitted refund

claims to SKAT through Acupay System LLC (“Acupay”), and Defendant denies submitting

fraudulent tax refund claims or otherwise participating in a fraudulent scheme.




                                                  5
    Case 1:18-md-02865-LAK            Document 166-5        Filed 07/29/19      Page 6 of 16




       27.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 27, except to admit that Defendant received

tax refund payments.

       28.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 28, except to admit or deny as follows:

               a.      Defendant admits that the withholding tax refund claims included a cover

letter from the Payment Agent;

               b.      Defendant admits that the tax refund claims submitted on its behalf set out

the information as set forth in the allegations contained in Paragraphs 28.b and 28.b.i through iv;

               c.      Defendant denies the allegations contained in Paragraph 28.c., except to

admit that the tax refund claims submitted on its behalf included “credit advice” notes that

described the security and the amount of dividend tax withheld;

               d.      Defendant denies the allegations contained in Paragraph 28.d, except to

admit that the tax refund claims submitted on its behalf included a document executed by

Defendant Tucci in connection with the Payment Agent’s submission of the tax refund claims on

behalf of Defendant Oaks Plan; and

               e.      Defendant admits that the tax refund claims submitted on its behalf

included a statement from the Internal Revenue Service containing the information as set forth in

the allegations contained in Paragraph 28.e.

       29.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 29, except to admit that the income advice

notes included with the tax refund claims submitted on its behalf referenced shareholdings in




                                                 6
    Case 1:18-md-02865-LAK            Document 166-5         Filed 07/29/19     Page 7 of 16




Danish-listed companies, and Defendant denies submitting fraudulent tax refund claims or

otherwise participating in a fraudulent scheme.

       30.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 30.

       31.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 31, except to admit that SKAT paid

withholding tax refunds to its Payment Agent.

       32.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 32, except to deny submitting fraudulent tax

refund claims or otherwise participating in a fraudulent scheme.

       33.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 33, except to admit that the tax refund

claims submitted on its behalf were submitted through its Payment Agent, and except that

Defendant denies that the tax refund claims submitted on its behalf were submitted as described

in Paragraph 28 of the Complaint, except as otherwise admitted in response to Paragraph 28.

       34.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in the first sentence of Paragraph 34, except Defendant

denies submitting fraudulent tax refund claims or otherwise participating in the fraudulent

scheme. Defendant denies the allegations contained in the second sentence of Paragraph 34,

except to admit that Defendant Tucci provided Acupay with a power of attorney relating to the

submission of the tax refund claims for Defendant Oaks Plan.

       35.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in the first sentence of Paragraph 35, except Defendant




                                                  7
    Case 1:18-md-02865-LAK            Document 166-5         Filed 07/29/19      Page 8 of 16




denies submitting a fraudulent tax refund claim or otherwise participating in the fraudulent

scheme. Defendant denies the allegations contained in the second sentence of Paragraph 35,

except to admit that it submitted its tax refund claims through Acupay.

       36.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in the first sentence of Paragraph 36, except Defendant

admits that it represented to SKAT that it held shares in, and received dividends net of

withholding tax from, large Danish-listed companies. Defendant denies having knowledge or

information sufficient to form a belief as to the truth of the allegations contained in the second

sentence of Paragraph 36, except Defendant admits that sixteen (16) withholding tax refund

claims totaling at least $11,179,000 (US), were made on its behalf. Defendant denies having

knowledge or information sufficient to form a belief as to the truth of the allegations contained in

the third sentence of Paragraph 36, except Defendant admits that the tax refund claims were

submitted to SKAT on its behalf on or about April 17, 2015; April 24, 2015; May 1, 2015 and

May 22, 2015.

       37.      Defendant denies the allegations contained in Paragraph 37.

       38.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 38, except Defendant admits that SKAT

made the tax refund claim payment on or about May 19, 2015 and July 6, 2015, and Defendant

denies submitting false tax refund claims or otherwise participating in a fraudulent scheme.

       39.      Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 39 as related to all claimants. To the extent

the allegations in Paragraph 39 relate to the Defendant, Defendant denies the allegations, except

as admitted in response to Paragraphs 40 through 42.




                                                  8
    Case 1:18-md-02865-LAK            Document 166-5        Filed 07/29/19      Page 9 of 16




          40.   Paragraph 40 alleges legal conclusions to which no answer is required. To the

extent that an answer to Paragraph 40 may be deemed required and to the factual component of

the allegations, Defendant denies the allegations contained in Paragraph 40, except that

Defendant admits that Defendant Tucci executed a document on or about March 17, 2015, that

contained the language quoted in Paragraph 40.

          41.   Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in the first sentence of Paragraph 41, except Defendant

admits that withholding tax refunds were submitted on its behalf, and except Defendant denies

submitting false tax refund claims or otherwise participating in a fraudulent scheme. Defendant

denies having knowledge or information sufficient to form a belief as to the truth of the

allegations contained in the second sentence of Paragraph 41, except that Defendant admits that

Defendant Tucci executed a document on or about March 17, 2015, that contained the language

quoted in Paragraph 40.

          42.   Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 42, except to admit that Defendant Tucci

communicated on its behalf regarding the tax refund claims and to admit that it listed an address

of 10 Throckmorton Avenue, West Long Branch, New Jersey, in its withholding tax refund

claims.

          43.   Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 43, except Defendant admits that the

Payment Agent submitted withholding tax refund claims on its behalf, and Defendant denies

submitting fraudulent tax refund claims or otherwise participating in a fraudulent scheme.




                                                 9
    Case 1:18-md-02865-LAK            Document 166-5         Filed 07/29/19       Page 10 of 16




       44.     Paragraph 44 alleges legal conclusions to which no answer is required. To the

extent that an answer to Paragraph 44 may be deemed required and to the factual component of

the allegations, Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 44, except to admit that Defendant Tucci

communicated in writing with the Payment Agent regarding tax refund claims on behalf of

Defendant Oaks Plan.

       45.     Defendant denies the allegations contained in Paragraph 45, except as admitted in

response to Paragraph 28, and Defendant denies having knowledge or information sufficient to

form a belief as to the truth of the allegations contained in Paragraph 45 as it relates to other

claimants.

       46.     Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 46, except to admit that tax refund claims

submitted on its behalf contained a power of attorney executed by Defendant Tucci and

requested that SKAT pay such claims to the Payment Agent’s bank account.

       47.     Defendant denies the allegations contained in Paragraph 47, except to admit that

SKAT paid the tax refund claim payments to the Payment Agent with respect to Defendant and

that such Payment Agent subsequently distributed the proceeds. Defendant denies having

knowledge or information sufficient to form a belief as to the truth of the allegations contained in

Paragraph 47 as it relates to other claimants.

       48.     Defendant denies the allegations contained in Paragraph 48, except to admit that

“credit advice” or similar notes showing Defendant’s ownership of shares of Danish companies

was included with its withholding tax refund claims. Defendant denies having knowledge or




                                                  10
    Case 1:18-md-02865-LAK           Document 166-5         Filed 07/29/19      Page 11 of 16




information sufficient to form a belief as to the truth of the allegations contained in Paragraph 48

as it relates to other claimants.

         49.    Defendant denies the allegations contained in Paragraph 49, except Defendant

admits that the example alleged in Paragraph 49 refers to a credit advice statement that was

submitted with one of the Defendant’s tax refund claims.

         50.    Defendant denies the allegations contained in Paragraph 50. Moreover, Paragraph

50 alleges legal conclusions to which no answer is required.

         51.    Defendant denies having knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 51, except to admit that Defendant is aware

that SKAT erroneously concluded that the tax refund claims submitted by Defendant were

fraudulent.

                               AS TO THE CAUSES OF ACTION

                                            COUNT I

                                (Fraud – Against Both Defendants)

         52.    Defendant repeats and incorporates its responses in paragraphs 1 through 51

above.

         53.    Defendant denies the allegations in Paragraph 53.

         54.    Defendant denies the allegations in Paragraph 54.

         55.    Defendant denies the allegations in Paragraph 55.

         56.    Defendant denies the allegations in Paragraph 56.




                                                 11
   Case 1:18-md-02865-LAK           Document 166-5       Filed 07/29/19     Page 12 of 16




                                          COUNT II

                  (Aiding and Abetting Fraud – Against Both Defendants)

         57.   Defendant repeats and incorporates its responses in paragraphs 1 through 56

above.

         58.   Defendant denies the allegations in Paragraph 58.

         59.   Defendant denies the allegations in Paragraph 59.

         60.   Defendant denies the allegations in Paragraph 60.

         61.   Defendant denies the allegations in Paragraph 61.

         62.   Defendant denies the allegations in Paragraph 62.

         63.   Defendant denies the allegations in Paragraph 63.

                                          COUNT III

                      (Unjust Enrichment – Against Both Defendants)

         64.   Defendant repeats and incorporates its responses in paragraphs 1 through 63

above.

         65.   Defendant denies the allegations in Paragraph 65.

         66.   Defendant denies the allegations in Paragraph 66.

         67.   Defendant denies the allegations in Paragraph 67.

         68.   Defendant denies the allegations in Paragraph 68.

                                          COUNT IV

                    (Money Had & Received – Against Both Defendants)

         69.   Defendant repeats and incorporates its responses in paragraphs 1 through 68

above.

         70.   Defendant denies the allegations in Paragraph 70.




                                               12
    Case 1:18-md-02865-LAK             Document 166-5         Filed 07/29/19       Page 13 of 16




         71.    Defendant denies the allegations in Paragraph 71.

                                              COUNT V

                    (Negligent Misrepresentation – Against All Defendants)

         72.    Defendant repeats and incorporates its responses in paragraphs 1 through 71

above.

         73.    Paragraph 73 alleges legal conclusions to which no answer is required. To the

extent that an answer to Paragraph 73 may be deemed required, Defendant denies the allegations

in Paragraph 73.

         74.    Defendant denies the allegations in Paragraph 74.

         75.    Defendant denies the allegations in Paragraph 75.

         76.    Defendant denies the allegations in Paragraph 76.

                             AS TO THE REQUEST FOR RELIEF

         77.    The allegations set forth in the “WHEREFORE” clause constitute Plaintiff’s

request for relief to which no response is required. To the extent that a response is necessary,

Defendant denies that Plaintiff is entitled to the relief requested, or to any relief.

                                   AFFIRMATIVE DEFENSES

                                  As A First Affirmative Defense

         78.    The Complaint fails to state a claim upon which relief can be granted for the

reason that it does not assert a legal theory cognizable as a matter of law and it fails to allege

sufficient facts to support a cognizable legal claim.

                                 As A Second Affirmative Defense

         79.    The claims are barred by the long-standing doctrine of the Revenue Rule, which

prohibits one sovereign from using courts of another sovereign to enforce its revenue laws.




                                                   13
    Case 1:18-md-02865-LAK              Document 166-5      Filed 07/29/19      Page 14 of 16




                                 As A Third Affirmative Defense

       80.     The claims alleged in the Complaint are barred by the applicable statutes of

limitations.

                                As A Fourth Affirmative Defense

       81.     The claims alleged in the Complaint are barred in whole or in part by the

equitable doctrines of unclean hands, waiver, laches, and estoppel.

                                 As A Fifth Affirmative Defense

       82.     The claims alleged in the Complaint are barred in whole or in part for failure to

join indispensable or necessary parties.

                                 As A Sixth Affirmative Defense

       83.     The recovery by the Plaintiff, if any, should be barred because the subject matter

of this lawsuit is the subject of another pending legal proceeding.

                                As A Seventh Affirmative Defense

       84.     Plaintiff’s action is barred because of its failure to exhaust administrative and

other legal remedies available to it.

                                As An Eighth Affirmative Defense

       85.     If the Plaintiff suffered any loss, damage, or injury, such damages were caused in

whole or in part by, and arose out of, Plaintiff’s culpable conduct, including but not limited to

contributory negligence and assumption of risk.

                                 As A Ninth Affirmative Defense

       86.     If the Plaintiff suffered any loss, damages, or injury, such alleged injuries and

damages were caused, in whole or in part, by the negligence, assumption of risk, fault, and/ or




                                                 14
    Case 1:18-md-02865-LAK            Document 166-5        Filed 07/29/19      Page 15 of 16




other culpable parties and/or third parties to this action, other than Defendant, for whose acts or

omissions or breaches of legal duty Defendant is not liable.

                                 As A Tenth Affirmative Defense

          87.   The claims alleged in the Complaint are barred in whole or in part by collateral

estoppel.

                              As An Eleventh Affirmative Defense

          88.   The claims alleged in the Complaint are barred in whole or in part because

Plaintiff has failed to mitigate its alleged damages.

                                As A Twelfth Affirmative Defense

          89.   The claims alleged in the Complaint are barred in whole or in part by res judicata.

                              As A Thirteenth Affirmative Defense

          90.   If the Plaintiff suffered any loss, damage, or injury, such damages are barred in

whole or part to the extent such damages have been or will be paid or indemnified by a collateral

source.

                              As A Fourteenth Affirmative Defense

          91.   The recovery by the Plaintiff, if any, should be reduced by application of New

Jersey law, including N.J.S.A. § 2A:15-5.3.

                               As A Fifteenth Affirmative Defense

          92.   The claims alleged in the Complaint are barred in whole or in part by waiver and

release.

                               As A Sixteenth Affirmative Defense

          93.   Defendant reserves the right to add to and/or amend these Affirmative Defenses

because of information that may become known during the course of discovery.




                                                 15
    Case 1:18-md-02865-LAK           Document 166-5        Filed 07/29/19      Page 16 of 16




       WHEREFORE, Defendant respectfully requests a judgement dismissing the Complaint

with prejudice, together with its costs, disbursements and attorney’s fees and such other further

relief as the Court may deem just and proper.



Dated: New York, New York

       July 29, 2019

                                                     CAPLIN & DRYSDALE, CHARTERED


                                                     s/ Mark D. Allison___________________
                                                     By: Mark D. Allison

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                                                16
